0033-5T-EPIB5T-00204963-248925       United States Bankruptcy Court
                                                                          FOR THE
                                                            Northern District of Ohio, Western Div
IN RE:                                                                       DATE 01/31/2018                         CASE No. 17-30154 G
           CHAD W & TARA J TOPP
           112 HERBSTRITT COURT                                                                                               SS #1 XXX-XX-6015
           WAPAKONETA, OH 45895                                                                                               SS #2 XXX-XX-2527


                                        NOTICE OF CLAIMS FILED AND INTENT TO PAY CLAIMS
NOTICE is hereby given of the intention of the Chapter 13 Trustee to pay the claims as duly filed and allowed of creditors named and in the amounts
set forth according to the terms of the plan, pursuant to 11 U.S.C. 502(a), and Bankruptcy Rule 3002. Unless a party in interest files an objection
and request for hearing within 28 days of the date of the service of this Notice, the said claims will be so paid. If an objection to a claim is filed after
disbursements have commenced pursuant to this Notice, the Chapter 13 Trustee will not pursue recovery of any funds disbursed prior to the objection.
 CLAIM #                    NAME AND ADDRESS OF CREDITOR                                                    AMOUNT        FORGIVE %      CLASSIFICATION

              FIFTH THIRD BANK / 5050 KINGSLEY DR                                                                                                   Not Filed
              CINCINNATI, OH 45227
              BANK OF AMERICA / PO BOX 982238                                                                                                       Not Filed
              EL PASO, TX 79998
              CHASE CARD SERVICES / PO BOX 15298                                                                                                    Not Filed
              WILMINGTON, DE 19850-5298
              BARCLAYS BANK DELAWARE / PO BOX 8803                                                                                                  Not Filed
              WILMINGTON, DE 19899
              LIMA MEMORIAL HEALTH / SYSTEM                                                                                                         Not Filed
              P O BOX 713223 / COLUMBUS, OH 43271-3223
              CHASE CARD SERVICES / PO BOX 15298                                                                                                    Not Filed
              WILMINGTON, DE 19850-5298
              AMERICAN HONDA FINANCE / 2170 POINT BLVD                                                                                              Not Filed
              STE 100 / ELGIN, IL 60123
              CHASE CARD SERVICES / PO BOX 94014                                                                                                    Not Filed
              PALATINE, IL 60094
              COMENITY BANK / 4590 E BROAD ST.                                                                                                      Not Filed
              COLUMBUS, OH 43213
              COMENITY BANK / 4590 E BROAD ST.                                                                                                      Not Filed
              COLUMBUS, OH 43213
              ST MARYS CHRYSLER / 500 MCKINLEY RD                                                                                                   Not Filed
              SAINT MARYS, OH 45885-1803
              LIMA MEMORIAL HEALTH / SYSTEM                                                                                                         Not Filed
              P O BOX 713223 / COLUMBUS, OH 43271-3223
              SYNCHRONY BANK/JC PENNEY / PO BOX 965007                                                                                              Not Filed
              ORLANDO, FL 32896




                                                                                                                   0.00           Debtor's Attorney
      WILLIAM L. SWOPE
      610 TIFFIN AVE
      SUITE A
      FINDLAY, OH 45840-5718

I hereby certify that a copy of this notice was served upon the debtor(s) and the debtor(s) attorney of record on this day by regular U.S. Mail
postage prepaid at their addresses as appear in the records hereof.



         DATE:    02/14/2018                                                                          /s/Elizabeth A. Vaughan
                                                                                             Elizabeth A. Vaughan
Page 1 of 3                                                                                  Chapter  13 Trustee
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0033-5T-EPIB5T-00204963-248925       United States Bankruptcy Court
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              AMERICAN HONDA FINANCE / 2170 POINT BLVD                                                                                              Not Filed
              STE 100 / ELGIN, IL 60123
              SYNCHRONY BANK / PO BOX 965005                                                                                                        Not Filed
              ORLANDO, FL 32896-5005
              SYNCHRONY BANK / PO BOX 965036                                                                                                        Not Filed
              ORLANDO, FL 32896-5036
              COMENITY BANK / PO BOX 182789                                                                                                         Not Filed
              COLUMBUS, OH 43218
              SYNCHRONY BANK / PO BOX 965005                                                                                                        Not Filed
              ORLANDO, FL 32896-5005
              SYNCHRONY BANK/WALMART / PO BOX 965024                                                                                                Not Filed
              ORLANDO, FL 32896-5024
              SYNCHRONY BANK/AMAZON / PO BOX 965015                                                                                                 Not Filed
              ORLANDO, FL 32896
              WESTERN ALLIANCE BANK / ONE EAST WASHINGTON ST., STE 1400                                                                             Not Filed
              PHOENIX, AZ 85004
              HONDA FINANCIAL / ALLAN NOTT ENT. INC                                                                                                 Not Filed
              3500 ELIDA RD / LIMA, OH 45807
              SYNCHRONY BANK/GAP / PO BOX 965005                                                                                                    Not Filed
              ORLANDO, FL 32896
              COMENITY BANK / PO BOX 182789                                                                                                         Not Filed
              COLUMBUS, OH 43218
   001        AMERICAN HONDA FINANCE CORP. / P O BOX 168088                                            12,945.41            88.0000               Unsecured
              IRVING, TX 75016-8088
   002        AMERICAN HONDA FINANCE CORP. / P O BOX 168088                                            25,933.52                                   DirectPay
              IRVING, TX 75016-8088




                                                                                                                   0.00           Debtor's Attorney
      WILLIAM L. SWOPE
      610 TIFFIN AVE
      SUITE A
      FINDLAY, OH 45840-5718

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         DATE:    02/14/2018                                                                          /s/Elizabeth A. Vaughan
                                                                                             Elizabeth A. Vaughan
Page 2 of 3                                                                                  Chapter  13 Trustee
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 CLAIM #                    NAME AND ADDRESS OF CREDITOR                                                    AMOUNT        FORGIVE %      CLASSIFICATION

   003        AMERICAN HONDA FINANCE / P. O. BOX 168088                                                None                                          Secured
              IRVING, TX 75016-8088
   004        FIFTH THIRD BANK / P O BOX 9013                                                          4,965.72             88.0000               Unsecured
              ADDISON, TX 75001
   005        VERIZON BY AMERICAN INFOSOURCE LP / 4515 N SANTA FE AVE                                  182.76               88.0000               Unsecured
              OKLAHOMA CITY, OK 73118
   006        CAVALRY SPV I, LLC / 500 SUMMIT LAKE DRIVE, SUITE 400                                    2,256.17             88.0000               Unsecured
              VALHALLA, NY 10595
   007        CAVALRY SPV I, LLC / 500 SUMMIT LAKE DRIVE, SUITE 400                                    1,433.62             88.0000               Unsecured
              VALHALLA, NY 10595
   008        CAPITAL ONE NA / C/O BECKET AND LEE LLP                                                  1,761.36             88.0000               Unsecured
              PO BOX 3001 / MALVERN, PA 19355-0701
   009        SANTANDER CONSUMER USA, INC. / DBA CHRYSLER CAPITAL                                      11,756.02                                   DirectPay
              PO BOX 961275 / FORT WORTH, TX 76161
   010        DEPARTMENT STORE NATIONAL BANK / C/O QUANTUM3 GROUP LLC                                  1,809.29             88.0000               Unsecured
              PO BOX 657 / KIRKLAND, WA 98083-0657
   011        CAVALRY SPV I, LLC / BASS & ASSOCIATES                                                   817.98               88.0000               Unsecured
              3936 E. FT. LOWELL RD., SUITE 200 / TUCSON, AZ 85712

                                                                                  Total                     63,861.85       *******




                                                                                                                   0.00           Debtor's Attorney
      WILLIAM L. SWOPE
      610 TIFFIN AVE
      SUITE A
      FINDLAY, OH 45840-5718

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                                                                                             Elizabeth A. Vaughan
Page 3 of 3                                                                                  Chapter  13 Trustee
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